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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CENTRUST BANK, N.A,                 )
                                    )                Case No. 21 C 02576
            Plaintiff,              )
                                    )
            v.                      )                Hon. Judge Sara L. Ellis
                                    )
RUBEN YBARRA, YRY HOLDINGS,         )                Hon. Magistrate Judge Maria Valdez
LLC and BOULDER HILL                )
APARTMENTS, LLC                     )
                                    )
            Defendants.             )
___________________________________ )
                                    )
RUBEN YBARRA, YRY HOLDINGS,         )
LLC and BOULDER HILL                )
APARTMENTS, LLC,                    )
                                    )
            Counter-Plaintiffs,     )
                                    )
            v.                      )
                                    )
CENTRUST BANK N.A.                  )
                                    )
            Counter-Defendant.      )

                                       COUNTERCLAIM

       NOW COME Defendants / Counter-Plaintiffs, Ruben Ybarra (“Ybarra”), YRY Holdings,

LLC (“YRY”) and Boulder Hill Apartments, LLC (“BHA”) (collectively, “Counter-Plaintiffs”),

by their attorneys, Christopher V. Langone of Langone Law LLC, and as Defendants’

Counterclaim, against CENTRUST BANK N.A. (sometimes referred to herein as “Counter-

Defendant”)1 state as follows:




1
        As noted in footnote 5 of Defendant’s Reply in Support of Its Motion for Leave to File
Counterclaim, Counter-Plainitffs were required to file a prophylactic action against a potential
(in a abundance of caution sense) trigger date for certain claims with a 2-year statute. Counter-

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                                               Introduction

        1.     In this case, Bruce Teitelbaum (“Teitelbaum”) conspired with Counter-Defendant

Centrust Bank, N.A., (the “Bank”) and the Bank’s agent Jim McMahon (“McMahon”), to use

Teitelbaum’s self-described “a-hole” lawyers to foment litigation for no purpose other than to

extort a “$$ettlement,” and harass Counter-Plaintiffs and interfere with their business relationships

and prospective economic advantage, among other things, as alleged herein.

        2.     Email communications between Teitelbaum and McMahon, an officer of the Bank,

reveal a malicious campaign to “set up a contempt,” against Ybarra to “beat him into submission.”

“using his own wife as the Club,” and “extract a seven-figure settlement.”

        3.     Unable to conceal their glee (describing it as “drawing to an inside straight”) when

they drew “old man White” as their judge– a judge they noted “could make the devil cry real tears”

– they, Teitelbaum and the Bank, abused the process otherwise available to legitimate judgment

creditors.

        4.     At various times, for instance, Teitelbaum and McMahon exclaimed in emails

“$$ettlement time!” and “I can’t wait to visit our grand apartment complex when you get the keys

soon.” The “grand apartment complex” referred to is Boulder Hill Apartments (“Boulder Hill

Apartments”), which is owned by Counter-Plaintiff BHA. The scheme to attempt to use litigation

to take over Boulder Hill Apartments is alleged more fully below.

        5.     Teitelbaum and McMahon also corresponded, with self-assured satisfaction, about

how they were “driving up Ruben’s attorneys’ fee….”

        6.     Part of Counter-Defendant’s plan was to “set up a contempt.” On June 7, 2017, for




Plaintiffs intend on pursuing those claims only in this forum now that leave his been granted to
file Counterclaims.

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instance, McMahon wrote an email that stated, in relevant part, “[k]eep these updates coming, Bruce.

When Judge White is really ready to jail him and/or his wife for contempt of court (and he really

will do it) your lawyers will have the opportunity to extract a seven-figure settlement.”

       7.      “Take no prisoners!” the Teitelbaum and the Bank repeatedly exhorted each other.

Additionally, Counter-Defendant’s emails contained violent metaphors, “the noose is getting

tighter,” and “very close to getting the death knell.”

       8.      As alleged herein, Teitelbaum and the Bank was also attempting to capitalize on

the growing age-related cognitive challenges of Judge White. Counter-Defendant and Teitelbuam

variously referred to Judge White as the “dear old gentleman” who “takes longer to get there.”

       9.      Yet the Bank and Teitelbuam also knew “the old legal lion,” “needed to retire.”

The pleadings in the State Court case were intentionally designed on their desire to capitalize on

Judge White’s alleged lack of memory and to deceive him into “jail[ing]” Ybarra.

       10.     Teitelbaum and the Bank also wanted to interfere with Ruben’s existing

relationships. In one email Teitelbaum exclaimed, “Good news, current lender very pissed off”

and “Ruben will have another attorney to pay.”

       11.     In connection with the scheme alleged herein, Teitelbaum and the Bank set up a

shell entity called “CNTST Debt Recovery,” which was merely a vehicle through which Counter-

Defendant would implement the illegitimate and champertous goals of its secret, so-called

“Cooperation Agreement.”

                                     Parties and Relevant Entities

       12.     Defendant / Counter-Plaintiff Plaintiff Ruben Ybarra (“Ruben”), is an individual

and citizen of the State of Texas.

       13.     Yolanda Ybarra (“Yolanda”) is Ruben’s wife and is a citizen of the State of Texas.




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         14.      Defendant / Counter-Plaintiff YRY Holdings, LLC (“YRY”) is a limited liability

company organized and existing under the laws of the State of Delaware.

         15.      Defendant / Counter-Plaintiff Boulder Hill Apartments, LLC (“BHA”) is a limited

liability company organized and existing under the laws of the State of Illinois, with one member:

YRY.

         16.      Plaintiff / Counter-Defendant CENTUST BANK, N.A. is a Centrust is a national

banking association with its main office is located at 385 Waukegan Rd, Northbrook, Illinois

60062.

                           The Bank Obtains Judgments Against Ruben

         17.      Prior to the great real estate crash of 2008 and 2009, Ruben established a real estate

portfolio using money borrowed money from the Bank (the “Real Estate Portfolio”).

         18.      In 2008 and 2009, during the great real estate crash, the Real Estate Portfolio of

Ruben’s corporate loans with the Bank and other lenders collapsed.

         19.      Accordingly, in early 2010, the Bank obtained various judgments, by confession,

against Ruben, totaling over $2.6 million (collectively the “Judgments”). One of these Judgments

was obtained on January 28, 2010, in Case Number 10 L 50077 (“Case Number 50077”), in the

amount of $1,142,414.88.

         20.      The Bank was not diligent in collecting the Judgments prior to being approached by

Teitelbaum, who proposed the Champertous Scheme more fully described and alleged below.

               The Teitelbaum and Yolanda Investments, Including in Boulder Hill and
                            The Formation of YRY by Michael Tuchman

         21.      Shortly after filing for bankruptcy (filed April 30, 2010), in approximately June

of 2010, Teitelbaum approached Yolanda, Ruben’s wife, and solicited her participation in

certain business ventures. As their business ventures developed, Teitelbaum introduced Ruben



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and Yolanda to his attorney, Michael Tuchman. With Tuchman’s assistance, Yolanda created

various entities that would enable Teitelbaum and Yolanda to participate in real estate

transactions despite the Judgments against Ruben and his substantial unrelated debt. One of

these entities was YRY.

       22.    On August 1, 2011, YRY was formed as a limited liability company organized

and existing under the laws of the State of Delaware. The three members of YRY were: (a) the

Yolanda Ybarra Revocable Trust, (b) the Ybarra Children Investment Trust, and (c) the Ruben

Ybarra Family Insurance Trust.

       23.    Ruben was designated as the manager of YRY, which was a manager-managed

LLC, not a member-managed LLC.

       24.    Ruben was not a member of YRY, and at all relevant times, Teitelbaum and the

Bank knew that. Yet, as more fully alleged below, at various times throughout the state court

proceedings, Teitelbaum and the Bank knowingly and falsely represented to the Court that Ruben

was a member.

                          The Shayarin Case and Shayrin Settlement

       25.    On October 6, 2011, Boulder 2011 LLC was incorporated with the Illinois

Secretary of State. YRY, Shayarin LLC (of which Teitelbaum was manager), and Susan Goldner

were the original members of Boulder 2011. Teitelbaum and Ruben were managers of Boulder

2011 LLC.

       26.    On August 18, 2014, Teitelbaum and his limited liability company Shayarin LLC

filed suit against YRY, Boulder 2011, and Ruben (the “Shayarin Case.”). In the Shayarin Case,

Teitelbaum sought to dissolve Boulder 2011 LLC and to compel a sale of the Boulder Hill

Apartments.




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       27.     In the Shayarin Case, Teitelbaum intentionally and falsely alleged that Ruben was

a 100% member of YRY. This false allegation is important because Counter-Defendants were at

all relevant times, fully aware that Ruben was not a member of YRY – nonetheless, they falsely,

fraudulently, and repeatedly represented to the Illinois state court that he was.

       28.     On April 24, 2015, Shayarin, Teitelbaum, Ruben, and YRY settled the Shayarin

Case (the “Shayarin Settlement”). Pursuant to the Shayarin Settlement, YRY agreed to purchase,

and did in fact purchase, Teitelbaum & Shayarin’s membership interest in Boulder 2011 – and

thus all interest in the Boulder Hill Apartments – for $1.16 million. After performance by YRY,

the Shayarin case was dismissed in accordance with the Shayarin Settlement.

       29.     Teitelbaum, however, had no intention of honoring the Shayarin Settlement. He

had almost immediate buyer’s remorse about the Shayarin Settlement, or maybe even hatched

the scheme alleged herein prior to the Shayarin Settlement. But one thing was for sure,

Teitelbaum’s eyes were fixed on obtaining more, if not all, of the Boulder Hill Apartments for

himself, and he was going to interlope into the then-dormant Centrust dispute and foment and

maintain litigation for improper and extortionate purposes -- including, as emails quoted herein

demonstrate, intentionally running up attorney’s fees.

       30.     Indeed, Teitelbaum’s malice and intent is shown by an email he sent on June 10,

2015, right as the Shayarin Settlement was taking a place. On that day, Teitelbaum sent an email

to YRY’s lenders, T2 and Union Bank. The email said: “Nice Guy.” Attached to the email were:

(i) Select Funding’s lis pendens on a property known as the Kingston Property (see below for a

definition of the Kingston Property and Kingston Case); (ii) a consent decree between the OCC

and Ruben dated December 31, 2012; and, (iii) a listing for Ruben’s former home in Park Ridge,

with a handwritten note, “Lost his House.” Obviously, this email is evidence of Teitelbaum’s




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intent, and malice toward Ybarra. This kind of interference with Counter-Plaintiffs’ relationship

with lenders is not limited to this isolated email, as will be seen from the allegations below.

                           The Kingston Case (a/k/a “the Small Case”)

       31.     Select Funding LLC holds itself out as making “hard money loans” for non-

traditional investment properties. Eric Ferleger (“Ferleger”) is a disbarred attorney, who is the

“Office Manager” for Select Funding. Ferleger was also a friend of Teitelbaum and a part of the

“mastermind” group behind the Champerty and Interference Scheme alleged herein.

       32.     Select Funding held certain mortgage loans against a property in the Real Estate

Portfolio, including one owned by 7550 Kingston LLC (the “Kingston Property”). Litigation was

filed against Ruben and others in the Circuit Court of Cook County regarding this Kingston

Property (the “Kingston Case”).

       33.     The complete circumstances of the Kingston Case are not fully relevant to

Defendants’ liability as alleged herein, other than to note it involved a unique issue regarding

insurance and non-occupied buildings. And, more importantly, the Kingston Case formed a template

for the larger Champertous extortion scheme relating to Boulder Hill Apartments, as alleged herein.

       34.     This so-called “small case” became a model Teitelbaum and McMahon sought to

 replicate with respect to the Boulder Hill Apartments. As Teitelbaum reported in an email dated

 January 24, 2019: “Was paid $245,000 from the thief [referring to Ruben] in the small case. With

 legal fees and additional interest it cost the a-hole somewhere around $440,000 to settle what was

 a $180,000 debt.” And in other emails Teitelbaum and McMahon noted that their efforts were

 just “like the small case” only on a larger scale. For instance, as Teitelbaum noted in an email

 dated September 21, 2018, “Following same pattern as small case.”

       35.     As to running up Counter-Plaintiffs’ attorney’s fees, even more than a year later,




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Teitelbaum was boasting, “Now these legal fees will carry interest at 9%.” The fact that

Teitelbaum was gloating about the interest on the attorney’s fees shows part of his intent, his

obsession with attorney’s fees, and evidences his desire to improperly use litigation to drive up

Counter-Plaintiffs’ fees.

       36.      In subsequent emails, Teitelbaum and McMahon revealed their intent to try to

replicate the extortion they had exacted in a “small case” on a larger level with Boulder Hill

Apartments. After all, if the “a-hole” paid $440,000 on a “$180,000 debt, imagine what they

could do in their efforts to run-up Ybarra’s attorney’s fees on the “bigger” case – as Teitelbaum’s

email of January 24, 2019, noted “they have $5,000,000 of equity in the apartments they bought

me out of.”

             The Formation of CNTRST, the Champertous Cooperation Agreement,
                 & Taking Control of the Kingston Case, a/k/a “The Small Case”

       37.      On August 8, 2015, CNTRST was incorporated with the Illinois Secretary of State.

Teitelbaum was identified as CNTRST’s president. CNTRST was created as a shell vehicle

through which Teitelbaum, McMahon and the Bank would implement their Champertous

Scheme.

       38.      On August 18, 2015, the Bank and CNTRST executed a document entitled

“Agreement of Creditors” (hereinafter the “Champertous Agreement”). As to the Champertous

Agreement: (i) CNTRST’s alleged respective claims were not identified; (ii) the Bank identified

its “respective claims,” (and all of them were against Ruben and companies owned by Ruben); (iii)

YRY, BHA, and Yolanda were not identified as “Debtors;”; (iv) the word “assignment” did not

appear anywhere; (v) the agreement was drafted by Markoff Law; (vi) Jim McMahon, the Bank’s

president, signed the agreement; (vii) CNTRST was responsible for hiring, paying, and directing

so-called “Lead Counsel;” (viii) the Bank was to get 30% of recovered money and CNTRST was



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to get the remaining 70%; and (ix) the Agreement was to be kept confidential.

       39.     From August 18, 2015 through August 21, 2019, the Bank did not disclose the

existence of the Champertous Agreement to YRY, BHA, Ruben, or any state court judge in any

of the proceedings pending during this timeframe.

       40.     On September 2, 2015, Select Funding LLC assigned the underlying mortgage in

the Kingston Case and the rights to pursue that litigation to CNTRST (the “Kingston

Assignments”). The Kingston Assignments were recorded with the Cook County Recorder on

September 15, 2015. The Kingston Assignments were executed by Select Funding’s “manager,”

disbarred attorney Eric Ferleger. Indeed, it is believed and thus alleged, disbarred attorney

Ferleger was unethically preparing, or providing legal input into, many of the legal documents in

the background, including the Kingston Assignments. Ferleger notarized the “manager’s” (i.e.,

his own) signature.

       41.     After recording, the Kingston Assignments were to be sent to attorney Richard

Jones. Jones was the Bank’s lawyer in Case Number 10 L 50077 from its initial filing in January

2010 through at least January 2016. CNTRST acquired its interest in the Kingston Case after the

Champertous Agreement was executed in August 2015. The Kingston Case was not identified as

a “Respective Claim” of CNTRST when the Champertous Agreement was executed.

       42.     In December 2015, CNTRST formally substituted in as Plaintiff in the Kingston

Case for Select Funding.

                           The 2016 Motions for Charging Order and
                      Bank’s Knowledge Ruben was Not A Member of YRY

       43.     On January 7, 2016, Plaintiff in Case No’s. 2010 L 50077, 10 L 50078, 10 L

50079, 10 L 50286, and 10 L 50287 filed motions for charging orders (“Motions for Charging

Orders”) against Ruben’s alleged interest in YRY (of which, in truth, as Counter-Defendants



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knew full well, there was none). The Motions for Charging Orders were noticed to proceed on

January 26, 2017. The Motions for Charging Orders alleged that Ruben was the manager of

YRY, and according to the LLC Act, a charging order would be appropriate.

       44.      The Motions for Charging Order in Case Number 50077 was withdrawn after

counsel for Ruben and YRY advised the Bank’s then counsel, Richard Jones: (a) that the Bank

had not yet served citations on Ruben, Yolanda, or YRY; and (b) more importantly, Ruben was

a manager but not a member of YRY. This latter fact, and the Bank’s knowledge of it, assumes

particular importance in light of Counter-Defendant’s subsequent conduct, where they

repeatedly, and knowingly, made false representations to the state courts that Ruben was a

member of YRY when they knew he was not.

             Kluver and Platt Appears and Files Improper Motions for A Receiver

       45.      On June 22, 2016, Kluever appeared, purportedly for the Bank, in Case Number

50077. The Babk’s President, McMahon, later claimed in the Interrogatory Answers: “Centrust

states that it was not involved with any post-judgment court filings and therefore has no

knowledge of the same.” and “Centrust states that it was not involved in engaging or

compensating any of the aforementioned attorneys.” Only discovery can reveal the truth in this

regard, as this statement is undermined by emails from McMahon (unless he was only acting in

an individual capacity, and not as an agent of the Bank, when he sent them).

       46.      On July 28, 2016, in all of the cases except Case Number 50077, the Bank filed

motions for charging order to impose a lien on Ruben’s non-existent membership interest in

YRY. The motions were scheduled to proceed on August 2, 2016.

       47.      In the late afternoon of August 1, 2016, however, the Bank filed so-called

“corrected” motions for charging orders that changed the amount due and owing on the




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judgments. Notice of these motions was sent to Ruben via regular mail, in his individual capacity,

to an address in Boca Raton, Florida. This was an address at which Ruben did not reside.

        48.     The motions were granted on August 2, 2016, as Ruben’s interests were not

represented due to the short (one day) notice to an invalid address. But Counter-Defendant was not

interested in proper notice, after all it was trying to “set up” a contempt.

        49.     Teitelbaum and the Bank could hardly contain their glee when Judge Alexander

White was assigned to the case. As McMahon stated, “Judge White can make Satan cry real tears.

You drew to an inside straight when your case was assigned to him. Take no prisoners!”

        50.     Teitelbaum and the Bank knew something else about Judge White, something that

every collection attorney that regularly appeared before him observed. Judge White was quite

elderly at that time, and it was observed that his memory was deteriorating over time. With due

respect to his Honor, but this is an important fact, it was easy for a slick attorney to confuse and

mislead Judge White during that final phase in his otherwise illustrious career.

        51.     Teitelbaum and the Bank were giddy with talk about the “threat of jail time.” As

McMahon wrote:

        I’ve seen the threat of jail time for contempt of court bring the mighty Bob Coe to
        his senses. It should work for Rubin as well. It got to the 23rd hour before Bob
        settled, so I imagine that Rubin will go right to the brink as well.

        52.     On August 18, 2016, Teitelbaum and the Bank queried, “I trust if we get him

thrown in jail, you have no interest in loaning him money to past bail?”

        53.     As part of the scheme to “set up contempt” and confuse and deceive Judge White,

the motions for charging order falsely and knowingly claimed YRY was an Illinois LLC, and

falsely stated that Ruben was the managing member of YRY. The motion also wrongly invoked

the charging order section of the Illinois LLC statute.




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       54.     But Teitelbaum and the Bank did not care. After all, as McMahon exhorted in

emails: “Take no prisoners!”

       55.     As before, YRY and Ruben were unrepresented at this time.

       56.     In all cases other than Case Number 50077, on September 9, 2016, the Bank filed

motions under the Illinois LLC Act to appoint disbarred attorney Eric Ferleger as a receiver to

enforce the charging orders over Ruben’s alleged – but as the Bank and Teitelbaum knew, non-

existent – distributional membership interest in YRY. The notices of motion stated that they were

served via regular mail to Ruben in his individual capacity and as the manager of YRY.

       57.     The motions for a receiver did not reveal Ferleger’s role in assigning the Kingston

Case to CNTRST, or other information showing he was in on the plan. A receiver is supposed to

be a disinterested officer that reports to the Court, not a co-participant and co-mastermind behind

a champerty scheme.

       58.     The Bank again falsely alleged that Ruben was the managing member of YRY.

The motion falsely alleged that YRY generates income that is ultimately distributed to Ruben.

       59.     The motions (falsely) chronicled Ruben’s supposed failure to comply with

citations, charging orders, and the entry of body attachment orders – thus continuing to try to “set

up” a contempt.

       60.     As with the prior filings, the motions to appoint a receiver were not verified.

       61.     The motions to appoint receiver were silent about Ferleger’s qualifications to act

as a receiver and did not allege that Ferleger was disinterested, which he clearly was not.

       62.     Teitelbaum and the Bank knew these defects would be easy to slip past “old Man

White.”

       63.     The motions for receiver were granted September 14, 2016.




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       64.     The orders appointing Ferleger as receiver required Ruben and YRY to: (a) turn

over records; (b) to cooperate with Ferleger; and (c) barred YRY from making distributions

without prior notice to Ferleger.

       65.     Counter-Plaintiffs continued to be unrepresented in the state court at this time.

                       Interference with Junior Lender Relationship, T2

       66.     On September 16, 2016, Ferleger sent an email to YRY’s junior lender at the time,

T2. Ferleger informed T2 that: (a) he had been appointed the receiver of YRY and its members;

(b) his appointment as a receiver likely would be a default under the senior mortgage in favor of

Union Bank; and (c) Ferleger had an unidentified investor who was interested in buying T2’s

junior mortgage interest in the Boulder Hill Apartments. The purpose of this email was to interfere

with Counter-Defendants’ lending relationships, and was done with the knowledge, direction and

approval of Teitelbaum and the Bank.

                                    The Conditional Judgments

       67.     On November 2, 2016, Teitelbaum sent McMahon an email, with the subject

“Motion to Compel and Conditional; Judgment,” in which he stated: “still working and inching

closer.”

       68.     On November 16, 2016, in Case Number 50077, the Court entered a conditional

judgment against YRY in the amount of $1,142,414.88 for its alleged failure to comply with a third

party citation. The order went on to state that the conditional judgment order could be sent to Ruben

“consistent with the Court’s order of September 14, 2016 granting Plaintiff leave to serve YRY via

special order of court on YRY’s managing member Ruben Ybarra.” The Bank was permitted to

serve YRY via certified mail and posting. Once again, as known to Counter-Defendants Ruben

was never a member of YRY. YRY was unrepresented in Case Number 50077 at this time.




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        69.   On November 18, 2016, CNTRST filed a motion for summary judgment in the

 Kingston Case. To support CNTRST’s claim for attorney’s fees, CNTRST attached the

 affidavit of Steve Werner, who was falsely identified as CNTRST’s President. According to

 records from the Illinois Secretary of State, Teitelbaum was, and had always been, CNTRST’s

 President. Disbarred attorney Ferleger notarized Werner’s signature as President of CNTRST.

        70.   On December 29, 2016, in Case Nos. 10 L 50077, 10 L 50078, 10 L 50079, 10 L

 50286, and 10 L 50287, the Bank filed notices of motion certifying that the Bank had

 simultaneously filed, “Plaintiff’s Motion to Compel and for Conditional Judgment Against YRY

 Holdings.” The motions were set to be heard on January 18, 2017. No motions to compel and/or

 for conditional judgment against YRY were attached to the notices of motion. Instead, the Bank

 attached five virtually identical pleadings simply titled “Motion.” The relief sought in the

 “Motions” was revival of the December 2010 Judgments. These incorrect notices of motion

 and the motions to revive judgments in all five cases were all filed only in Case Number 50078.

 The court dockets in Case Nos. 10 L 50077, 10 L 50079, 10 L 50286, and 10 L 50287 do not

 reflect that any such notices and motions were filed on December 29, 2016. The notices of

 motion to compel and for conditional judgment against YRY were, yet again, directed to Ruben

 at a condominium complex in Boca Raton, Florida.

                                    The Petitions to Revive

       71.    On January 11, 2017, the Bank filed “Amended Notices of Motion” to present on

January 18, 2017, Plaintiff’s Motion to Revive Judgment. These Amended Notices of Motion to

Revive Judgment were filed in Case Nos. 10 L 50077, 10 L 50078, 10 L 50079, 10 L 50286, and

10 L 50287. The Amended Notices of Motion stated the Petitions to Revive Judgment were

attached. They were not attached. The Amended Notices of Motion were directed via regular mail




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only to Ruben at a condominium complex in Boca Raton, Florida. Once again, as Counter-

Defendants knew, Ruben did not live in Boca Raton, Florida at this time.

          72.   On January 28, 2017, the Bank’s judgment in Case Number 50077 lapsed. The

 Bank’s judgment lien on real property of Ruben also lapsed.

          73.   On February 23, 2017, in Case Number 50077, the Court entered an order

permitting service of the Bank’s petition for revival by mailing the petition to Ruben’s new lawyer

Arnstein & Lehr. The order also contemplated an agreed-upon deposition of Ruben in the near

future.

          74.   On April 4, 2017, the Bank attempted to revive the judgment in the amount of

$1,853,685.51 in Case Number 50077.

                              The Ambush Arrest of Ruben
                    When He Voluntarily Appears at a Citation Proceeding

          75.   On April 21, 2017, by agreement of the parties, Ruben traveled from Texas to

Chicago to sit for a preliminary citation exam at the office of the Bank’s counsel, Kluever & Platt.

The citation exam was “preliminary” because not all of the documents were then available. Despite

the agreement of the parties that Ruben appear for a preliminary exam, the exam was terminated

when the Cook County Sheriff arrested Ruben and brought him before Judge White.

          76.   Unbeknownst to Ruben at the time, but known to Counter-Defendants who were

still in the process of “setting up” Ruben, it was the intent of Teitelbaum and the Bank to execute

a body attachment on Ruben at the citation.

          77.   Teitelbaum was present when Ruben was seized pursuant to a body attachment and

even took a photograph as a sort of trophy to document the occasion.

          78.   From April 22, 2017 through May 20, 2020, the Bank never sought to re-depose

Ruben following his body attachment.



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       79.    On June 7, 2017, McMahon wrote an email that stated:

              Keep these updates coming, Bruce, When Judge White is really ready to jail
              him and/or his wife for contempt of court (and he really will do it) your
              lawyers will have the opportunity to extract a seven-figure settlement.”

       80.    As time went by, however, Teitelbaum and the Bank became increasingly

frustrated with “Old Man White.” The following emails are illustrative:

       (a).   On July 5, 2018, “No settlement until we get a receiver appointed [over Boulder

              Hill Apartments]. Judge White is sitting on a ruling for about 4 months. He needs

              to retire!”

       (b).   On July 5, 2018, McMahon replied: “I forgot the dear old gentleman is hearing your

              case. He delivers justice but it takes him longer to get there now!”

       (c).   Only July 6, 2018 “FYI judge White is not ruling on anything.”

       (d).   On August 2, 2018, Contempt equal jail for Ybarra.”

       (e).   On August 14, 2018, Teitelbaum asked “wonder if old man White can understand

              what below means…”

                                     Yolanda Sits for a Citation

       81.    On January 22, 2019, Yolanda sat for her citation exam in Case Number 50007.

Yolanda testified that she makes the decisions for YRY and BHA; Ruben did not have an interest

in YRY; Ruben cannot access YRY’s account; she is the sole breadwinner for the family; and she

created YRY as part of estate planning created by Michael Tuchman who was introduced to the

Ybarras by Teitelbaum.

       82.    Teitelbaum and the Bank knew at the time they were simply harassing Yolanda. As

McMahon wrote in an email, “that’s how we/you got those judgments against him which are using

to beat him into submission. Using his own wife as the club.”




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       83.     On February 13, 2019, McMahon wrote an email to Teitelbaum stating, in relevant

part, “I can’t wait to visit our grand apartment complex when you get the keys soon.”

                         Kluever & Platt Withdraws & Markoff Law Appears

       84.     In Spring 2019, the Bank’s then-counsel, Kluever & Platt was permitted to

withdraw as counsel of record. Kluever & Platt cited unspecified “irreconcilable differences” with

the Bank as grounds for withdrawal. Kluever & Platt alleged that CNTRST is managing the

litigation on behalf of the Bank.

       85.     Teitelbaum sent an email to McMahon stating, “I am changing lawyers to Markoff

Law… they think my old lawyers were approaching it wrong (receivership would take 18 months

with Ruben the crook) and they are going to try to force a quick []..sale of the property….”

                         The So-Called “Motion for Judicial Determination”

       86.     On April 10, 2019, Markoff Law filed its appearance on behalf of the Bank.

Through Markoff, the Bank filed a motion entitled Motion for Judicial Determination to sell the

Boulder Hill Apartments pursuant to 735 ILCS 5/2-1402. When this motion was filed, there was

no attorney of record for Ruben or YRY and BHA. Yet again, the motion was unverified. Yet

again, the motion falsely alleged that Ruben was a member of YRY.

       87.     On June 21, 2019, Teitelbaum wrote, among other things, “good news, current

lender very pissed off….” This email shows that it was always Counter-Defendants’ intent to

interfere with Counter-Plaintiffs’ relations with their lenders – i.e., to “piss” them off. The full

text of the email Teitelbaum was as follows:

       Good news, current lender very pissed off. Ruben will have another attorney to pay.
       Should move the needle a little bit on the settlement. Believe there is a tiny legal
       opinion that your judgments can prime the first mortgage.

       88.     As a result of the filing of the Motion for Judicial Determination, YRY was




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restrained from alienating, transferring, or selling the Boulder Hill Apartments.

        89.     Also, Ruben was prevented from receiving any money or income due to freeze

orders entered in conjunction with Case number 50077 (the “Freeze Orders”).

        90.     On July 12, 2019, in Case number 50077, YRY and BHA filed petitions to intervene

in Case number 50077 to, among other things, dispute and try to secure relief from the Freeze

Orders and prevent the efforts from Teitelbaum and the Bank seizing and selling the Boulder Hill

Apartments, in which Teitelbaum relinquished interest due to the Shayarin Settlement.

        91.     On July 15, 2019, McMahon wrote, “Rubin [sic] is going to put up a struggle before

settling. This looks like his last hand before folding….”

        92.     On July 17, 2019, Real Realty produced documents responsive to the Bank’s

third-party citation rider.

        93.     The documents produced by Real Realty re-enforced that Ruben did not own or

control BHA’s operating accounts and that the Boulder Hill Apartments were competently

managed.

        94.     After Real Realty produced documents, there was undoubtedly no good-faith basis

to continue with either the Motion for Judicial Determination or the Freeze Orders (indeed, these

motions were knowingly frivolous even before the documents were produced; but production of

the documents eliminated any doubt as to this issue).

        95.     Nonetheless, Teitelbaum and the Bank continued with their improper, abusive, and

champertous scheme to interfere with Ruben’s contracts and prospective economic advantage.

        Counter-Plaintiffs’ Efforts to Obtain the Secret Champertous Agreement

      96.       On August 13, 2019, in Case Number 50077, the Bank refused to voluntarily hand

over any agreement that set forth the relationship between the Bank and Teitelbaum and instead




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directed YRY and BHA to issue a formal document production request for this data, which they

did,

       97.      On August 21, 2019, the Bank filed an emergency motion in Case Number 50077

for an in camera inspection of the Champertous Agreement. The motion was denied on the ground

there was no emergency.

       98.      The State Court directed the parties to craft a protective order that would permit

YRY and BHA to see the “Assignment Agreement,” (i.e., the Champertous Agreement) but would

limit its dissemination.

        99.     On August 23, 2019, the Bank’s counsel distributed a proposed protective order to

counsel for YRY and BHA, as well as to counsel for adverse claimants T2 and Real Realty.

        100.    On August 28, 2019, the parties appeared on the Bank’s motion for an in camera

inspection of the agreement between the Bank and CNTRST. The Court denied the Bank’s motion

to withhold the agreement from YRY and BHA.

        101.    The Court also ruled that the Bank cannot shield from YRY and BHA materials

relating to the negotiation of the agreement. During the hearing, the Bank’s counsel stated that

Ferleger was employed by Teitelbaum and that Teitelbaum referred to Ferleger as his “librarian

and translator.”

        102.    On December 17, 2019, Teitelbuam and the Bank exchanged emails that stated, in

relevant part: “Much ado about nothing. Pages of legal fees being generated in order to get legal

fees. When does Bruce get the deed and master keys to all of the apartments.”

        103.    On December 31, 2019, in Case No. 10 L 50077, YRY and BHA filed their notice

of adverse claim in opposition to the Bank’s motion for judicial determination.

        104.    During the late winter 2019 and early spring 2020, in Case Number 50077, YRY




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and BHA filed their submissions, amended submissions, and replies relating to the right to and

scope of discovery pertinent to resolve their notice of adverse claim and to defend against the

Bank’s Motion for Judicial Determination.

                              Markoff Law Withdraws &
        Counter-Defendants Acrimoniously “Terminate” their Champertous Scheme

       105.    On June 29, 2020, the Bank’s counsel, yet again, filed a motion to withdraw. Like

Kluever & Platt, Markoff Law cited “irreconcilable differences” with the Bank.

       106.    On July 1, 2020, the parties appeared before the Court per the Court’s sua sponte

order for status on pending motions. All matters were continued until July 10, 2020. The Court

ordered James McMahon, the President of the Bank, and Teitelbaum, the President of CNTRST,

to be present on July 10, 2020, so that discovery and the briefing of motions could be addressed.

       107.    Over Counter-Plaintiffs’ objection, the Freeze Orders remained in place.

       108.    On July 10, 2020, the parties appeared before the Court for status. Markoff Law’s

motion to withdraw as the Bank’s fourth counsel of record is granted. The Court ordered the

Bank’s new counsel, their fifth, to file their appearance by July 31, 2020. The Court further

ordered that McMahon and Teitelbaum participate in the next court proceeding on August 4,

2020. The Court repeatedly reiterated that it wanted to move the case along. Teitelbaum

announced that the Champertous Agreement was soon to be terminated and CNTRST will “be

exiting the case.”

       109.    Markoff’s withdrawal sent Teitelbaum and McMahon scrambling. On July 13,

2020, Teitelbaum sent McMahon, for his review, “a simple termination agreement between the

Bank and Centrust.” Teitelbaum was also careful to note he’d lawyered up – “Mr. Mack will be

representing me in this matter,” he wrote, “If Mr. Rappin or yourself has any questions or

comments, please call Mr. Mack.”



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        110.    McMahon responded, “This looks like half the story, per a call I received from

one of your other advisors, Bruce. Who continues with the litigation to collect on the Centrust

judgments? Not Steve Rappin and me. So let’s see that other half when you are ready to identify

that investor. And that investor’s documentation to take over prosecution of the case.”

       111.     On July 28, 2020, Teitelbaum sent an email to the parties and to the Court advising

that the Champertous Agreement had been terminated and that McMahon would distribute proof

shortly.

       112.     On July 29, 2020, McMahon circulated the Termination Agreement to the parties

and to the Court and announced the Bank would not be engaging counsel. The Termination

Agreement was dated July 10th, the same day as the last court appearance. The Termination

Agreement recited: (i) mutual releases between the Bank and CNTRST; (ii) CNTRST was not

entitled to payment or reimbursement of costs while the Agreement of Creditors (ie., the

Champertous Agreement”) was in effect; and (iii) required CNTRST to indemnify the Bank for

damages and attorneys’ fees incurred or asserted against the Bank.

       113.     On October 09, 2020, Teitelbaum sent an email to McMahon that stated, “Believe

NO! I can be like ruben (sic) 12 months later. Sorry you are involved. Do not believe either of us did

anything wrong.”

                                      Allegations of Joint Venture

        114.    Through the Champertous Agreement, the Bank, Teitelbaum and CNTRST entered

were engaged in a joint venture (the “Joint Venture”). As joint venturers, the Bank, Teitelbaum and

CNTRST employed, as agents, Kluever and Markoff.

        115.    Counter-Defendant, along with Teitelbuam and CNTRST, and each of them, engaged

in acts in furtherance of the Joint Venture; as such, they are jointly and severally liable for the tortious




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alleged herein and alleged as to CNTRST and Teitelbaum in case 21-02702.

                                   Allegations of Civil Conspiracy

          116.   Through the Champertous Agreement, the Bank, Teitelbaum and CNTRST entered

into an agreement to commit a tort, or other wrong, specifically, but not limited to champerty and

maintenance.

          117.   Counter-Defendant engaged in wrongful acts in furtherance of this agreement,

including, among other things as alleged herein: concealing the agreement from the State Court and

Counter-Plaintiffs; improperly moving for appointment of a receiver, as alleged above; improperly

subjecting Ruben to a body attachment; improperly interfering with junior lenders, as alleged above;

seeking to circumvent the Shayrin Settlement.

          118.   Counter-Defendant’s acts, as alleged herein, were in furtherance of the Champertous

Agreement.

          119.   Counter-Plaintiffs suffered damages as a result of Counter-Defendant’s acts in

furtherance of their conspiracy.

          120.   As a result of Counter-Defendant’s conspiracy, they are jointly and severally liable

(along with Teitelbaum and CNTRST) for the claims alleged herein, as .alleged as to CNTRST and

Teitelbaum in Case Number 21-02702.

                                               Count I
                                              Champerty

          121.   Counter-Plaintiffs incorporate and re-allege allegations 1-120, as if set forth fulling

herein.

          122.   Teitelbaum and CNTRST were strangers to the litigation involving Ruben and the

Bank.

          123.   Teitelbaum was motivated by malice against Ruben as a result of the Shayarin Case



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and Shayarin Settlement.

        124.    Teitelbaum wanted to obtain a larger share of the Boulder Hill Apartments than he had

agreed to in the Shayarin Settlement.

        125.    The Bank had all but abandoned its efforts to collect on the Judgments.

        126.    Teitelbaum approached McMahon and the Bank pursuant to his desire to “stir up

litigation” between the Bank and Ruben, and in an effort to accomplish by covert duplicity what

he could not do directly – obtain profits from the Boulder Hill Apartments (and Counter-Plaintiff

BHA) in breach of the Shayarin Settlement.

        127.    Maintenance is assistance to a litigant in pursuing or defending a lawsuit provided

by someone who does not have a bona fide interest in the case.

        128.    Champerty is a form of maintenance in which a nonparty undertakes to further

another’s interest in a suit in exchange for a part of the litigated matter if a favorable result ensues.

        129.    The doctrines of champerty and maintenance were developed at common law to prevent

officious intermeddlers, such as Counter-Defendants here, from stirring up strife and contention, as they

did here, by vexatious and speculative litigation – (e.,g, “I can’t wait to visit our grand apartment complex

when you get the keys soon”) -- to which would disturb the peace of society, lead to corrupt practices, and

prevent the remedial process of the law

        130.    The Bank, agreed to allow Teitelbaum and CNTRST to control and fund litigation

 in exchange for a share of the proceeds pursuant to the Champertous Agreement. This constitutes

 the tort of champerty and maintenance.

        131.    The Bank, Teitelbaum, and CNTRST are all jointly and severally liable as co-

 conspirators, as alleged more fully above.

        WHEREFORE, Counter-Plaintiffs Ruben Ybarra, YRY Holdings, LLC and Boulder Hill

 Apartments, LLC pray that this Court: (a) enter judgment in their favor for actual damages


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against all Counter-Defendants in an amount to be proved at trial; (b) court costs; and (c) any

other relief this Court deems just.

                                             Count II
                                          Abuse of Process

       132.    Counter-Plaintiffs incorporate and re-allege allegations 1-120 and 122-131, as if set

forth in full herein.

       133.    Counter Defendant engaged in willful acts in the use of process that was not proper in

the regular conduct of the proceeding, as alleged above, including, but not limited to: (a) willfully

sending notices to the wrong address in Boca Raton; (b) making misrepresentations to the state court;

(c) concealing the Champertous Agreement from the State Court and opposing litigants; (d) making

and abandoning frivolous motions for a receiver; (e) interfering with the junior lender as alleged above;

(f) deceiving Ruben into coming to a citation, which was set as a trap to seize him pursuant to a body

attachment in order to intimidate him, and (g) using the services of a disbarred lawyer to facilitate the

unauthorized practice of law.

       134.    Teitelbaum possessed an ulterior purpose other than resolving a legal dispute in

connection with the above-alleged conduct. Specifically, Teitelbaum was attempting to do indirectly

what he could not do directly (as a result of the Shayarin Settlement) – obtain an interest in the

Boulder Hill Apartments. The Bank is alleged to also be liable as a co-conspirator and co-joint

venturer with Teitelbaum.

       135.    The Bank knowingly allowed Teitelbaum to use CNTRST as a sham or straw entity.

       136.    Had Ruben known the truth from the inception, be would have been able to, among

other things, dismiss the State Court litigation pursuant to Section 2-619 of the Illinois Code of

Civil Procedure, as barred by prior release.

       WHEREFORE, Counter-Plaintiffs Ruben Ybarra, YRY Holdings, LLC and Boulder Hill



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 Apartments, LLC pray that this Court: (a) enter judgment in their favor for actual damages

 against all Counter-Defendants, jointly and severally, in an amount to be proved at trial; (b)

 court costs; and (c) any other relief this Court deems just.

                                             Count III
                                Tortious Interference with Contract

        137.    Plaintiffs incorporate and re-allege allegations 1-128 and 122-136, as if set forth in

 full herein.

        138.    YRY and BHA had a contractual relationship with its lender T2.

        139.    On June 11, 2018, BHA executed a note and mortgage in favor of T2 for

$9,000,000. The note was secured by a mortgage on the Boulder Hill Apartments.

        140.    In September 2018, the Bank filed an emergency motion in Case Number 50077 to

appoint a receiver for the Boulder Hill Apartments pursuant to 735 ILCS 5/2-1402.

        141.    As Teitelbaum noted in an email dated September 21, 2018, “Following same

pattern as small case.”

        142.    In connection with this motion, the Bank requested an expedited briefing schedule.

As a part of the order, BHA agreed that pending resolution of the Bank’s emergency motion for

appointment of receiver BHA’s operating account would be frozen for the month during which the

receiver motion was pending.

        143.    On October 2, 2018, Judge McGing denied a virtually identical petition pursuant to

Section 2-1402 of the Illinois Code of Civil Procedure, which sought (on a supposed “emergency”

basis) to appoint a receiver for the Boulder Hill Apartments. In denying CNTRST’s emergency

motion, Judge McGing discussed the Shayarin Case and the release Shayarin and Teitelbaum

executed with YRY. Judge McGing noted that Shayarin and Teitelbaum received $1.16 million

dollars; the Shayarin Case was dismissed with prejudice, and “as a result, the [Shayarin] case was



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dismissed with prejudice and Teitelbaum gave up any rights to BHA and the Boulder Hill

Apartments, an asset of considerable value that Defendants [YRY] now control.” Judge McGing

also commented that he was troubled that Teitelbaum was asserting that the estate planning regime

the Ybarras established by Leventhal Perlstein 2011 was fraudulent, since it was Teitelbaum who

introduced Yolanda Ybarra to Michael Tuchman of Leventhal Perlstein in the first place.

        144.    CNTRST did not appeal the order denying its motion for receiver.

        145.    On October 16, 2018, the Bank did not proceed to hearing in Case Number 50077

on its emergency motion to appoint receiver of the Boulder Hill Apartments.

        146.    On June 4, 2019, The Bank withdrew its emergency motion per Section 2-1402 to

appoint a receiver for the Boulder Hill Apartments, which had been fully briefed since early

October 2018.

        147.    Nonetheless, the Bank did not agree to withdraw or vacate the portion of the

briefing schedule which froze BHA’s operating account.

        148.    The freezing of that account caused substantial economic damage to Counter-

Plaintiffs.

        149.    The Bank intentionally and unjustifiably interfered with this relationship by seeking

 appointment of a receiver knowing full well the Ruben was not a member of YRY.

        150.    The actions of Counter-Defendants caused damage to BHA and YRY by freezing its

 bank accounts, causing it to lose liquidity and profits, and loss of business opportunities.

        WHEREFORE, Counter-Plaintiffs Ruben Ybarra, YRY Holdings, LLC and Boulder Hill

 Apartments, LLC pray that this Court: (a) enter judgment in their favor for actual damages

 against all Counter-Defendants, jointly and severally, in an amount to be proved at trial; (b)

 court costs; and (c) any other relief this Court deems just.




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                                            Count IV
                   Tortious Interference with Prospective Economic Advantage

       151.     Counter-Plaintiffs incorporate and re-allege allegations 1-128 and 122-136, and 138-

150, as if set forth in full herein.

       152.     By virtue of the Motion for Judicial Determination, the restraining citations, the

motion(s) for appointment of receiver, and the Freeze Orders, Counter-Plaintiffs’ ability to alienate

or sell the BHA apartment building was held up for years, causing Counter-Plaintiffs significant

damages.

       153.     Boulder Hill obtained title to the Boulder Hill Apartments and recorded special

warranty deeds in June 2015.

       154.     On or about June 11, 2018, Boulder Hill obtained a loan from T2. T2 secured its

loan to Boulder Hill with a mortgage.

       155.     In May 2018, Boulder Hill entered into a property management agreement with

Real Realty LLC.

       156.     On August 30, 2018, the Bank filed a motion to appoint a receiver to operate the

Boulder Hill Apartments. The receiver motion was not filed pursuant to a mortgage or any other

written contract, but instead was sought pursuant to an arcane section of 735 ILCS 5/2-1402.

The Bank’s motion for receiver was fully briefed by the parties, and then inexplicably withdrawn

in 2019.

       WHEREFORE, Counter-Plaintiffs pray that this Court: (a) enter judgment in their favor

for actual damages against Counter-Defendants, jointly and severally, in an amount to be proved

at trial; (b) court costs; and (c) any other relief this Court deems just.




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                                            Respectfully Submitted,

                                            /s/ Christopher V. Langone

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